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IN THE UNITED STATES COURT OF APPEAI;_§ __ w

FOR THE FIFTH CIRCUIT j u.s-.c:sisi§iced§i y
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No. 12-30353 n ~. `
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UNITED sTATEs oF AMERICA, LDRETTA G. WHYTE §
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Plaintiff - Appellee
V.
JAMAL ABU SAMAK,

Defendant - Appellant

 

Appeal from the United States District Court for the
Eastern District of Louisiana
USDC No. 2:91-CR-189-3!2:06-CV-1675

 

Before JOLLY, STE_WART and OWEN, Circuit Judges.
PER CURIAM:

This court must examine the basis of its jurisdiction, on its own motion
if necessary. Hill v. City of Seven Points, 230 F.3d 167, 169 (5th Cir. 2000).
Pursuant to 28 U.S.C. § 2107(b) and Federal Rule of Appellate Procedure
4(3)(1)(13), the notice of appeal in a civil action in which the United States is a
party must be filed within sixty days of entry of the judgment cr order from
which appeal is taken. A motion brought under 28 U.S.C. § 2255 is a civil
action to which the sixty day appeal period applies. Um'ted States v. De Los
Reyes, 842 F.2d 755, 757 (5th Cir. 1988). In this 28 U.S.C. § 2255 proceeding

the district court denied a motion for relief from judgment denying § 2255

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12-30353

relief on January 23, 2012. Accordingly, the final day for filing a timely
notice of appeal Was March 23, 2012. The defendant’s pro se notice of appeal
is dated March 28, 2012, and it Was filed on April 3, 2012. Because the notice
of appeal is dated March 28, 2012, it could not have been deposited in the
prison's mail system within the prescribed time. See FED. R. APP. P. 4(c)(1)
(prisoner's pro se notice of appeal is timely filed if deposited in the
institution's internal mail system on or before the last day for filing). The
time limitation for filing a notice of appeal in a civil case is jurisdictional
Bow]es V. Russe]], 551 U.S. 205, 212~13 (2007). The lack of a timely notice
mandates dismissal of the appeal. Robbl'ns V. Maggi'o, 750 F.2d 405, 408 (5th
Cir. 1985).
IT IS SO ORDERED.

 

Case 2:91-cr-00189-SI\/| Document 274 Filed 06/08/12

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June 06, 2012

Ms. Loretta Whyte

Page 3 of 3

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U.S. District Court, Eastern eistrict of Lc>uisiaria u.s.oemmcoum

500 Poydras Street
Room C-151

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New Orleans, LA 70130

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No. 12-30353, USA v. Jamal Samak
USDC No. 2:06~CV»1675

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Enclosed is a copy cf the judgment issued as the mandate.

Sincerely,

LYLE W. CAYCE, Clerk

By:%'\ M/'*

 

Shawn D. Henderson,
504-310-7668

cc w/encl:
Mr. Fred Patrick Harper Jr.
Mr. Jamal Abu Samak

Deputy Clerk

 

